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                        UNITED STATES COURT OF APPEALS
                            FOR THE TENTH CIRCUIT

                                DOCKETING STATEMENT




         Appeal Number         24-8022



            Case Name          United States v. Ostrom


           Party or Parties
      Filing Notice of Appeal
                              Ronald Ostrom, Defendant - Appellant.
             Or Petition


          Appellee(s) or       United States of America, Plaintiff -Appellee
          Respondent(s)


   List all prior or related None
  appeals in this court with
   appropriate citation(s).


 I.       JURISDICTION OVER APPEAL OR PETITION FOR REVIEW
          A.     APPEAL FROM DISTRICT COURT
                 1.     Date final judgment or order to be reviewed was entered on the
                        district court docket: 2/20/2024
                 2.     Date notice of appeal was filed: 3/7/2024
                 3.     State the time limit for filing the notice of appeal (cite the specific
                        provision of Fed. R. App. P. 4 or other authority):
                        Fed.R.App.P.4(b)(1)(A)(i) states 14 days.
                        a.     Was the United States or an officer or an agency of the
                               United States a party below? Yes

                        b.     Was a motion filed for an extension of time to file the notice
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                           of appeal? If so, give the filing date of the motion, the date of
                           any order disposing of the motion, and the deadline for filing
                           the notice of appeal: Motion to Extend filed 3/11/2024 and 3/14/2024. Both motions were denied by the District Court.




              4.    Tolling Motions. See Fed. R. App. P. 4(a)(4)(A); 4(b)(3)(A).
                    a.     Give the filing date of any motion that tolls the time to appeal
                           pursuant to Fed. R. App. P. 4(a)(4)(A) or 4(b)(3)(A):
                           None
                    b.     Has an order been entered by the district court disposing of
                           any such motion, and, if so, when?
                           None
              5.    Is the order or judgment final (i.e. does it dispose of all claims by
                    and against all parties)? See 28 U.S.C. § 1291. Yes.
                    (If your answer to Question 5 is no, please answer the following
                    questions in this section.)

                    a.     If not, did district court direct entry of judgment in
                           accordance with Fed. R. Civ. P. 54(b)? When was this done?
                           N/A
                    b.     If the judgment or order is not a final disposition, is it
                           appealable under 28 U.S.C. ' 1292(a)? N/A
                    c.     If none of the above applies, what is the specific legal
                           authority for determining that the judgment or order is
                           appealable? N/A
              6.    Cross Appeals.
                    a.     If this is a cross appeal, what relief do you seek beyond
                           preserving the judgment below? See United Fire & Cas. Co.
                           v. Boulder Plaza Residential, LLC, 633 F.3d 951, 958 (10th
                           Cir. 2011) (addressing jurisdictional validity of conditional
                           cross appeals).
                           N/A
                    b.     If you do not seek relief beyond an alternative basis for
                           affirmance, what is the jurisdictional basis for your appeal?
                           See Breakthrough Mgt. Group, Inc. v. Chukchansi Gold
                           Casino and Resort, 629 F.3d 1173, 1196-98 and n.18 (10th
                                            2
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                            Cir. 2010) (discussing protective or conditional cross
                            appeals). N/A


       B.     REVIEW OF AGENCY ORDER (To be completed only in connection
              with petitions for review or applications for enforcement filed directly with
              the court of appeals.)

              1.     Date of the order to be reviewed:
              2.     Date petition for review was filed:
              3.     Specify the statute or other authority granting the Tenth Circuit
                     Court of Appeals jurisdiction to review the order:
              4.     Specify the time limit for filing the petition (cite specific statutory
                     section or other authority): ________________________________


       C.     APPEAL OF TAX COURT DECISION

              1.     Date of entry of decision appealed:
              2.     Date notice of appeal was filed:
                     (If notice was filed by mail, attach proof of postmark.)

              3.     State the time limit for filing notice of appeal (cite specific statutory
                     section or other authority):
              4.     Was a timely motion to vacate or revise a decision made under the
                     Tax Court’s Rules of Practice, and if so, when? See Fed. R. App. P.
                     13(a)




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 II.   ADDITIONAL INFORMATION IN CRIMINAL APPEALS.

       A.     Does this appeal involve review under 18 U.S.C. ' 3742(a) or (b) of the
              sentence imposed? No.
       B.     If the answer to A (immediately above) is yes, does the defendant also
              challenge the judgment of conviction? N/A
       C.     Describe the sentence imposed. Six months of house arrest, two years of supervised probation.


       D.     Was the sentence imposed after a plea of guilty? No.
       E.     If the answer to D (immediately above) is yes, did the plea agreement
              include a waiver of appeal and/or collateral challenges? N/A
       F.     Is the defendant on probation or at liberty pending appeal? Probation
       G.     If the defendant is incarcerated, what is the anticipated release date if the
              judgment of conviction is fully executed? N/A



       NOTE:          In the event expedited review is requested and a motion to that
                      effect is filed, the defendant shall consider whether a transcript
                      of any portion of the trial court proceedings is necessary for the
                      appeal. Necessary transcripts must be ordered by completing
                      and delivering the transcript order form to the Clerk of the
                      district court with a copy filed in the court of appeals.




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 III.   GIVE A BRIEF DESCRIPTION OF THE NATURE OF THE
        UNDERLYING CASE AND RESULT BELOW.
        The Defendant was charged with fourteen counts of a combination of theft of
        governement property, false writings and statements, concealing and retaining
        government property, conversion of government property. The matter went to jury trial.
        The Defendant was acquitted on eight counts and convicted four counts. He was
        sentenced to six months of house arrest and two years of supervised probation.




 IV.    IDENTIFY TO THE BEST OF YOUR ABILITY AT THIS STAGE OF THE
        PROCEEDINGS, THE ISSUES TO BE RAISED IN THIS APPEAL. You
        must attempt to identify the issues even if you were not counsel below. See
        10th Cir. R. 3.4(B).
         The Defendant will be raising the issue of ineffective assitance of counsel and abuse of
        discretion by the trial court regarding the admission or non-admission of evidence.




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 V.    ATTORNEY FILING DOCKETING STATEMENT:

       Name: _______________________________
             Samuel P. Krone                 Telephone: 307-578-6721

       Firm: Krone Law, LLC

       Email Address: sam@samkronelaw.com

       Address: 901 36th Street, P.O. Box 2481, Cody, WY 82414




       _______________________________________
       /s/ Samuel P. Krone                             _____________________
                                                       4/8/2024
       Signature                                       Date




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 NOTE:        The Docketing Statement must be filed with the Clerk via the court’s
              Electronic Case Filing System (ECF). Instructions and information
              regarding ECF can be found on the court’s website,
              www.ca10.uscourts.gov.
              The Docketing Statement must be accompanied by proof of service. The
              following Certificate of Service may be used.
                            CERTIFICATE OF SERVICE

       I, _______________________________________,
          Samuel P. Krone                          hereby certify that on
              [attorney for appellant/petitioner]
 4/8/2024                  , I served a copy of the foregoing Docketing Statement, to:
              [date]
 Michael Elmore                                   , at michael.elmore@usdoj.gov
       [counsel for/or appellee/respondent]




                                         , the last known address/email address, by
 electronic mail.                                                                         .
                           [state method of service]


                                         /s/ Samuel P. Krone
                                         Signature
                                         4/8/2024
                                         Date
                                         ___________________________________
                                         Samuel P. Krone
                                         ___________________________________
                                         Krone Law, LLC
                                         ___________________________________
                                         901 36th Street, P.O. Box 2481, Cody, WY 82414
                                         ___________________________________
                                         sam@samkronelaw.com
                                         Full name and address of attorney




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